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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

KRISTI LAURIS, Individually and as
Successor In Interest to the Estate of
DAINIS LAURIS; KRISTI LAURIS as
Guardian Ad Litem for L.L.; and TAYLOR
LAURIS,

Plaintiffs,
Vv.
NOVARTIS AG, a Global Healthcare
Company; NOVARTIS
PHARMACEUTICALS CORPORATION,
a Delaware Corporation,

Defendants.

 

 

 

Case No.: 1-16-cv-00393-SEH

ORDER

On November 3, 2017, the Court conducted a hearing on Defendant Novartis AG’s

Motion for Summary Judgment (Doc. No. 158), Defendant Novartis Pharmaceuticals

Corporation’s Motion for Summary Judgment (Doc. No. 172) and Plaintiffs’ Motion in limine

No. 5 to Exclude Defendants’ Affirmative Defenses Under Rule 37(c)(1) of the Federal Rules of

Civil Procedure (Doc. No. 129).

Upon the record made in open court,

 
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ORDERED:

1. Defendant Novartis AG’s Motion for Summary Judgment (Doc. No. 158) is
DENIED.

2. Defendant Novartis Pharmaceuticals Corporation’s Motion for Summary

Judgment (Doc. No. 172) is DENIED.
3. Plaintiffs’ Motion in limine No. 5 to Exclude Defendants’ Affirmative Defenses
Under Rule 37(c)(1) of the Federal Rules of Civil Procedure (Doc. No. 129) is RESERVED.

A
DATED this oe ay of November, 2017.

 
   

SAM E. HAD
United States District Judge

 

 

 
